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          EXHIBIT A
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LTE Wireless, Inc.
Suspicious Provider Brief – Jan. 2021


                                            BACKGROUND
Several voice service providers advised the Industry Traceback Group (ITG) of ongoing suspicious traffic
having the characteristics of illegal traffic pumping. The traffic was directed to telephone numbers
assigned to LTE Wireless. Traffic was initially observed in September 2020. Subsequently, other
providers observed similar traffic.

Based on the information gathered from the numerous affected providers, LTE Wireless, in coordination
with other parties, appears to be undertaking an aggressive, unlawful traffic pumping scheme by
fraudulently generating usage minutes across multiple networks for telephone numbers served by LTE
Wireless for the purpose of collecting excessive terminating access revenues. Additionally, LTE Wireless
and its partners appear to rely on hacked calling facilities to generate the high volume of unlawful
traffic. This type of pernicious scheme harms providers and institutions of all sizes, by potentially causing
congestion across telecommunications facilities, and preventing legitimate incoming and outgoing calls
from reaching consumers, healthcare providers, government officials and more.

                                           HOW IT WORKS
Several steps are involved in the chain that propagates the fraud.

    1) A hacker anywhere in the world signs up with Kappa Premium Telecom, based in India, and is
       assigned one or more USA telephone numbers. Providers have evidence of such hackers being
       based in Pakistan, Palestine, and elsewhere.
    2) The hacker pushes call traffic to those number(s). This is usually done by hacking into USA-based
       private switches (i.e.,PBXs) over the nternet and causing the PBX (via call-forwarding or Direct
       Inward Station Access) to place calls to those numbers.
    3) The service provider serving the PBX owner completes each call by first looking up the
       destination number, which reveals its assignment to LTE Wireless. Most service providers are
       not directly connected to LTE Wireless, so they send the call to a downstream provider to
       complete the call, incurring a per-minute fee.
    4) The downstream provider may also not have a direct connection to LTE Wireless, so it sends the
       call to yet another downstream provider (paying a fee slightly lower than what they charge their
       upstream provider customer). This process may repeat until the call is terminated with LTE
       Wireless.
    5) Eventually, a provider with a direct connection to LTE Wireless hands the call to them, in this
       case paying LTE Wireless a per-minute fee.
    6) At regular intervals, LTE Wireless tallies the minutes of traffic and, presumably, shares a fraction
       of the revenue received to Kappa Premium Telecom.
    7) Kappa Premium, per their Facebook and web documents, pays a fraction of its share of revenues
       to the hacker(s) from step 1.
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    8) Some intermediate providers, that have restricted traffic to LTE Wireless, have received from
       LTE Wireless offers of direct connection and threats of complaints to regulators if calls are not
       completed. As a result, there may be limited, if any, intermediate providers that are registered
       per the FCC’s rural call completion rules available to complete an LTE Wireless call.

                                         ABOUT LTE WIRELESS
LTE Wireless has FCC 499A Filer ID 832719. The last filing date is April 2019 (delinquent). They list their
HQ address as 3916 N Potsdam Avenue, suite 1061, Sioux Falls, SD 57104. 3916 N Potsdam is the
address of Dakota Post, a virtual mailbox service.

The same address is used for LTE Wireless’ CEO, shavkat ILYA, and “Chairman or other officer,” james
tony. (Capitalization is as it appears in the filing). The filing indicates LTE Wireless provides service in
Montana, New York, North Dakota, Oregon, South Dakota, Utah, Vermont, and Washington.

The FCC CORES Database has ID #0027632058 and lists Patrick Hardy as Manager with the same 3916 N.
Potsdam address.

Both the 499A entry and CORES list the contact phone number as (877) 388-
2232. The RespOrg for this number is currently Alcazar Networks. When
called, it connects to an IVR for LTE Wireless with extensive menu options.
We have not managed to reach a live person despite our efforts to do so.

In June of 2020, FCC WCB PPD rejected an LTE Wireless Tariff filing for
benchmarking and dispute resolution defects. It appears that LTE has no valid federal access tariff. They
do have a New York tariff (see below).

South Dakota: Appl for Cert of Authority to Provide Local Exchange Telecommunications Services

                 Response to SD PUC Data Request

                 Here they list Dennis Morris, Vice President of Operations, and then correct that name
                 to Dennis Morrisey. They indicate that Robert Casey is no longer with the company.
                 They list their “correct address” as 5421 W 41st Street, Suite 202, Sioux Falls, SD. This is
                 (or was) the address of Heartland Tax, a tax preparer in Sioux Falls. Email addresses
                 include infoltewireless@gmail.com and info@ltewireless.com.

                 OpenCorporates Page (with links to other states). This lists an address of 326 N Madison
                 Ave, Pierre, SD 57501, which appears to be a residence.

Washington:      Petition for Registration was deemed incomplete.

New York:        NY DPS Docket regarding LTE Wireless application with documents. Lists Dana Hoyle as
                 Regulatory Consultant; hoyleregaffairs@gmail.com. Includes NY Access Tariff.

                 Verizon Submission for Approval of Interconnect Agreement w/ LTE Wireless to NY PSC

                 This earlier (2018) Application for CPCN lists Patrick Hardy with phone 214-980-8088
                 and business address 933 Pennsylvania Av, Brooklyn, NY 11207. Here is a curious Google
                 Maps photo of that street address.
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The LTE Wireless website oddly promotes both wireless and wireline service packages for residential and
business services, but with offers that seem nonsensical. For example, LTE Wireless offers “Unlimited
talk, text and video on LTE wireless network worldwide” for $10/month which is extremely low based on
industry standards. On the other hand, LTE Wireless advertises a business calling package for 12 cents
per minute, which is highly expensive.

The LTE Wireless website also appears to be non-functional. Many of the links redirect the viewer back
to the home page.

Additionally, the state drop-down lists included in the online forms are mysterious:

On the Register page:                                    On the Business and Residential pages:




                                         TRAFFIC ROUTING
As noted above, few providers have direct connections with LTE Wireless. Providers route traffic
through other providers and eventually it finds its way to LTE.

LTE’s entries in the LERG for its NPA-NXX’s appear to be out of compliance with regulations. For
example, their New York NPA-NXX’s show switches in Montana and South Dakota (rather than within
the proper New York LATA and rate center). It has also been noted that LTE apparently lacks active local
interconnections and interconnection agreements (ICAs) with all relevant RBOCs and ILECs in each of LTE
Wireless’s eleven LATAs.

Two providers appear to have direct connections: TelxMedia and LCR Hub, but we have not spoken with
these providers about this matter. The affected voice service providers that have informed this letter
route call traffic through other downstream providers and eventually to LTE Wireless, but still incur
charges from LTE Wireless for usage minutes once the calls have been terminated.

LTE Wireless has aggressively sent letters to some providers complaining about the failure to
interconnect and threatening legal action; however, when challenged, LTE Wireless has apparently
backed down.

Individual providers in some cases have seen millions of minutes of traffic per day, amounting to
hundreds of thousands of dollars per month at a wholesale rate of $0.005/minute. Further, we
understand that calls to LTE Wireless continue nonstop, including on Thanksgiving Day, imposing
significant costs on providers and their customers – and significant fraudulent gains for the perpetrators.
Retail losses could be much higher.
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                                               TelxMedia
TelxMedia is one provider that appears to interconnect directly to LTE Wireless. New York-based
TelxMedia is run by Faizal Hassad, who has been involved in past litigation with providers. TelxMedia’s
expired (April 2019) 499A filing is here. TelxMedia does not appear to have a valid filing with New York –
following is information taken from the NY PSC:

Case Number: 16-C-0534
Matter Type: Petition
Matter Subtype: Designation as an Eligible Telecommunications Carrier
Matter Title: Petition of Telxmedia, Inc. for Designation as an Eligible Telecommunications Carrier.
Description/Purpose of Filing: Request to Withdraw the ETC Petition
Company/Organization: Telxmedia, Inc.
Response To Previous Filing: No
Filing Date: 12/21/2016

Document(s) Filed:
          Document Title             Document Type Security      File Name         File Size
Request to Withdraw the ETC Petition Petitions     Public Telxmedia Withdrawal.pdf 76 KB


TelxMedia is NOT listed in the FCC’s Intermediate Provider Registry.

The TelxMedia web site resembles the LTE Wireless web site.

                                                LCR Hub
LCR Hub is another provider that appears to connect directly to LTE Wireless. Its website lists a variety of
tandem services but gives little detail about the company itself.

We have not found LCR Hub in the 499A filer database. LCR Hub is listed in the FCC’s Intermediate
Provider registry and is included in the FCC CORES database. The IPD lists Denis Moris as the contact
with an address of 25 First Ave SW Watertown SD 57201.

                                     Kappa Premium Telecom
This India-based company sells “premium rate numbers” from around the globe. These are akin to old
900 and 976 numbers in the USA, where the calling party is charged a premium to connect to some
added-value service (e.g. news and information, horoscope, dial-a-prayer, audio porn, etc.). These
numbers have historically been used in “pumping” schemes where callers unwittingly call the numbers,
which incur huge charges for the caller and net a big payoff for those running and facilitating the
number schemes.

Generally, providers make best efforts to block calls to traditional premium rate numbers.

However, because the numbers used for the LTE Wireless schemes are otherwise conventional USA
geographic numbers – largely based in New York, it is more difficult for providers to quickly identify
them as fraudulent, making it easier for bad actors to pump huge numbers of minutes and incur
exorbitant charges to them before the provider is able to identify the fraud pattern.
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Following is a Facebook ad in which Kappa Premium Telecom promotes its USA numbers; these numbers
are serviced by LTE Wireless (as indicated in the Number Portability database):




Here is the URL for this page: https://www.facebook.com/people/Simran-Singh-Iprn/100013193881511

Kappa’s website explains more about its business and explicitly indicates that its numbers are not to be
used fraudulently, but the rest of the site appears questionable. For instance, a recent post in the site’s
News section highlights the availability of USA numbers that will earn the operator money. When
dialed, these numbers connect to an IVR that offers the ability to listen to various radio stations for an
apparently limitless period (all the while racking up per-minute charges and payouts).



                                        PROVIDER ACTIONS
As an increasing number of voice service providers have brought this scheme to light, originating
providers have begun to more proactively monitor their networks for unusual traffic patterns associated
with LTE Wireless OCNs, and address the traffic with its source. For example, one provider might
recognize a suspected PBX hack and address it urgently with the affected PBX owner. Originating
providers have also considered rejecting LTE Wireless calls from a PBX as part of a fraud-prevention
service offered to PBX operators. With this scheme, providers are in a difficult position: At best, it is
unclear whether they are permitted to block the call under the FCC’s access stimulation, rural call
completion, and robocall blocking rules, and therefore some providers may feel they have no choice but
to pay terminating access charges for the unlawful traffic. For those intermediate providers with
contracts that do not require termination to all destinations, some have ceased offering LTE Wireless
destinations to their upstream customers.
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As of December 2020, millions of apparently fraudulent minutes continue to be directed to LTE Wireless.
Traffic statistics suggest that traffic has surged on certain providers’ networks, and moves to customers
of other providers once those providers have taken steps to mitigate, such as notifying their customers
that their PBX facilities have been hacked. Those customers suffer until the issue is addressed by the
provider; once that occurs, the fraudsters and traffic move to the next set of customers and providers.

The providers participating in our conversations have not shared complete details about specific steps
taken or the traffic patterns they have observed to date, so the ITG cannot provide a comprehensive
explanation; however, the affected providers have generously shared other information, including
relevant web resources, call history, regulatory and legal requirements, that has allowed the ITG to
compile this report.

                                    TENTATIVE CONCLUSIONS
LTE Wireless appears to be running a sophisticated telecommunications fraud scheme, taking advantage
of regulatory loopholes and limited oversight to bilk providers and their customers out of millions of
dollars. The scheme encourages fraudsters around the globe to break into private telecom systems and
tie up capacity, such that legitimate and perhaps critical traffic could be blocked.

LTE Wireless is belligerent with providers, trying to intimidate them with threats of regulatory and legal
action if those providers do not interconnect with LTE Wireless, send LTE Wireless traffic, and/or pay LTE
Wireless.

Given what we know about Least Cost Routers’ traffic, we believe they are required to file as an Access
Stimulator but have not done so. It is incumbent on them to file when their ratio of terminating traffic to
originating traffic exceeds 6:1. They would also have to identify a tandem provider and pay the
associated costs.

Providers TelxMedia and LCR Hub appear to be cooperating with and facilitating LTE Wireless’ scheme,
despite maintaining an arms-length distance at least on the surface.

Kappa Premium Telecom plays an important role in recruiting “customers” for the premium rate
numbers, who sign up for number assignments and then use whatever techniques available to drive
traffic to those numbers. Investigations by originating providers have generally indicated that the bulk of
calls come from USA-based hacked PBXs, but the IP addresses involved suggest foreign perpetrators are
in fact making the calls through the USA-hacked PBXs.
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                    Appendix – OCNs assigned to LTE Wireless
                OCN                           NPA-NXX’s, City, State (LATA)
              323J – SD                               None Found
             335J – MT                                None Found
              379J – OR                        458-238-A, Bandon, OR (670)
                379K                                  None Found
              410J – ND                        701-507-A, Rolette, ND (638)
            (both LATAs)                     701-717-A, Carrington, ND (636)
              452J – NY                     332-224-A, NYC Zone 1, NY (132)
(covers all NY LATAs except Fishers         332-226-A, NYC Zone 1, NY (132)
  Island/921 and Rochester 974)             347-540-A, NYC Zone 12, NY (132)
                                            347-550-A, NYC Zone 12, NY (132)
                                         516-685-A, Cold Spring Harbor, NY (132)
                                              607-394-A, Addison, NY (138)
                                              631-550-A, Yaphank, NY (132)
                                            646-550-A, NYC Zone 1, NY (132)
                                               680-237-A, Adams, NY (136)
                                                716-521-A, Akron, NY (140)
                                         718-970-2/3/4/9, NYC Zone 12, NY (132)
                                              838-210-A, Millerton, NY (134)
                                             845-550-A, Woodstock, NY (133)
                                               845-696-A, Amenia, NY (133)
                                            914-550-A (Chappaqua, NY) (132)
                                              917-550-A (NYC Zone 1) (132)
                                              917-571-A (NYC Zone 1) (132)
                                              928-518-A (NYC Zone 3) (132)
                                              929-537-A (NYC Zone 3) (132)
               460J – IA                      712-361-A, Scranton, IA (644)
      (644 is Omaha, NE LATA)                  712-598-A, Odebolt, IA (630)
484A LTE Comms Svcs dba Telecom                       None Found
 Affiliates – CO (not LTE Wireless)
